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                    Exhibit A
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                                                                                Exhibit A
                                                                          Served via Electronic Mail

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